Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 1 of 45




            EXHIBIT 1
        Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 2 of 45



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                  )
PAULA BIRD, CLARE COETZER,                        )
SPENCER LEE, LAUREN ROSE,                         )
DANIELLE SNIDER, ERIKA                            )
WESLEY, "B.A.", "D.A.", "S.B .", "D .C. ",        )
"P.E.", "B.G.", "L.M." , "W.M.", "C.S.",          )
"L.S .", "G.T." , Plaintiffs on behalf of         )
themselves and a class of those similarly         )
situated                                          )
                                                  )   Civil Action No . 1:19-CV-1581
               Plaintiffs,                        )
                                                  )
V.                                                )
                                                  )
WILLIAM BARR, Attorney General of the             )
United States, named in his official Capacity,    )
and head of the Department of Justice,            )
                                                  )
               Defendants.                        )
_____ _ _ __________)
        DECLARATION OF ERIKA WESLEY IN SUPPORT OF MOTION FOR
                      PRELIMINARY INJUNCTION


       1.      I am over 18 years old and have personal knowledge of the facts set forth below.

       2.      I am a plaintiff in the above captioned action, and I am one of the plaintiffs

identified by name in the complaint.

       3.      I am currently an Intelligence Analyst (IA) for the FBI (series 0132) at the GS- 13

level, and have served in the Phoenix Division since April 2018.

       4.      I have a rare genetic syndrome and related medical conditions which has resulted

in the FBI providing reasonable accommodations that have permitted me to successfully

complete my work as an Intelligence Analyst. I requested an ergonomic workstation on May 10,

2018 , which I received. See Ex. A. In addition, because my symptoms are generally least


                                                 1
        Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 3 of 45



present early in the day, and tend to flare up later in the day, I asked my supervisor, Supervisory

Intelligence Analyst (SIA) Mary Martinez, and received approval to work an alternative work

schedule, from 6 am to 2:45 pm. Finally, I was also permitted to keep an ERAS (secure FBI

laptop) at home so that I could telework when necessary. This reasonable accommodation was

also approved by SIA Martinez. Other employees in the Phoenix Division also telework on

occasion. This accommodation permitted me to complete my work when and where I was least

symptomatic. For example, after long periods in the office, the fluorescent lights could

exacerbate my symptoms, but if I went home and treated the flare up, I could then resume work

by using the laptop, and complete my assignments.

        5.     I received excellent performance evaluations. I was promoted to GS-13 in early

2019, after completing a rigorous promotion process. And my supervisor described me as an

"exemplary employee" in my quarterly performance review .
                  •
        6.     This lawsuit was filed in Federal Court on May 29, 2019, and I understand that

my counsel, David Shaffer, sent a copy of the Complaint to counsel for the FBI who had been

involved in my internal EEO complaint.

        7.     The New York Times published an article on May 29, 2019 describing the

lawsuit, and identifying me by name as one of the plaintiffs. In addition, I, along with several

other plaintiffs, was interviewed by NBC News, and segments appeared on the Today show the

morning of May 30, 2019.

        8.      Since filing this lawsuit, I have experienced acts of retaliation.

        9.      SIA Martinez infmmed me that on May 29, 2019 Acting Assistant Special Agent

in Charge (A/ASAC) Andrew Braun told her that I spent all my time "doing EEO complaints"

and "suing the bureau instead of doing [my] job," and that I "need to go." SIA Martinez told him



                                                   2
        Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 4 of 45



that I was getting my work done and was an excellent employee.

       10.     Less than one week later, on June 4, 2019, A/ASAC Braun held a meeting of

intelligence analysts in the Phoenix Division, and announced that the SIAs in the division were

being re-assigned to new squads. Certain analysts would also be re-assigned, however, the non-

supervisory changes had not yet been decided upon. He announced that SIA Martinez was being

assigned to a different, smaller squad, and that I would be assigned to another squad led by SIA

Kelly Burzacchi, effective June 9, 2019.

       11.     On June 6, 2019, A/ASAC Braun sent out an email which documented additional

changes to the intelligence program. In that document, my specific position, one that no other

employees in that Division hold, was described as being "eradicated." My position was the only

one identified for elimination. That same day I initiated the internal EEO process for retaliation,

see Ex. B, and telephoned the Office of Internal Compliance and left a telephone report that I

believed the Whistleblower Protection Act was being violated, Ex. C.

       12.     On June 9, 2019, I told SIA Burzacchi that I did not have enough work assigned

to me, and proposed projects that I could work on. However, SIA Burzacchi instructed me only

to work on assigned projects. On June 11, 2019, during a squad meeting, I offered to help assist

over-burdened colleagues, as I did not have sufficient work assigned to me, but SIA Burzacchi

again instructed me not to do so.

       13 .    On June 18, 2019, SIA Burzacchi told me that SIA Martinez had requested I be

temporarily assigned to her squad, and I expressed interest in such an assignment. Instead,

A/ASAC Braun temporarily assigned me to SIA DeGroot's squad, stating he thought there was

greater need there, even though SIA Martinez's squad was significantly understaffed compared

to STA DeGroot's squad. STA DeGroot expressed surprise at my assignment to her squad, noting



                                                 3
        Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 5 of 45



that the staffing she had requested was filling of a vacant Staff Operations Specialist (SOS)

position, a GS-7 level position, as compared to my GS-13 level. Even on SIA De Groot's squad,

however, there was little work for me to do, and I was asked to do lower level tasks that were not

typically assigned to an Intelligence Analyst. Performing SOS-level work would, by its very

nature and definition, preclude me from meeting my performance criteria for the IA position. I

explained to SIA DeGroot that while I was willing to assist in any functions necessary to support

the mission, I needed to counter-balance this lower-level work with upper level work to ensure I

was meeting my performance requirements . I did not receive any Intelligence Analyst

assignments until July 1, 2019, and I was subsequently informed that that project was being

"shelved" until next fiscal year. I have regularly volunteered for additional work, at grade level

appropriate projects that need to be handled by my current squad, and my offers have been

rejected. The fact that I was significantly underutilized as an IA on DeGroot' s squad was at odds

with A lASAC Braun claiming that DeGroot had a greater need for IA assistance than Martinez

did.

        14.    This underutilization deprives me of the chance to continue to develop and

demonstrate my skill set. Prior to being moved to these temporary assignments, I was a "Reports

Officer," and in that role am evaluated on how many short reports I write, how quickly I write

them, and attending trainings relevant to my role. The temporary assignment is supposed to be

as an Embedded Analyst, who would be evaluated on different criteria - generally completing

three major intelligence projects each year, and taking training relevant to their role. But even if

my next evaluation is done based on the duties of the temporary title as Embedded Analyst, I will

not be able to show I have met these different criteria because the actual work assignments I

have been given have been for SOS work, which is at a substantially lower level than either an



                                                 4
        Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 6 of 45



IA Reports Officer or an IA Embedded Analyst. Moreover, while taking ongoing training is

expected for either role I might be evaluated under, because trainings must be requested some

time in advance, and because it is unclear what role I will be assigned, I have not been able to

request approval to participate in relevant training. Essentially, I have been set up to fai l to

satisfy the stated criteria! of either my official position or my nominal temporary position.

        15 .    On June 10, 2019, I spoke with SIA Burzacchi about my reasonable

accommodations that had previously been approved, including my ergonomic workstation, my

alternative work schedule, and my access to an ERAS laptop and the opportunity to telework.

SIA Burzacchi told me that she was unaware of the telework policy for Phoenix, and would

review my file to see what reasonable accommodations had been approved. She stated that she

wanted to be sure that I had "secured them [the reasonable accommodations] appropriately" and

that SIA Martinez had adequately "crossed her t's and dotted her i's" when providing me the

accommodations.

        16.     On July 8, 2019, I sent SIA Burzacchi an email request to telework for ten hours

during the week of July 15 - July 19, 2019. I explained that I needed to utilize my telework

accommodation as I had many times under SIA Martinez's tenure. SIA Burzacchi replied two

hours later with a very confusing message, stating that she was still unsure as to what the

telework policy was (despite me bringing it up at least twice previously), and that she would

inform SIA DeGroot of my request. Because SIA Burzacchi is still my permanent supervisor

and handles all administrative matters, I did not understand why she would pass the request to

SIA DeGroot.

        17.     Mid-morning on July 8, 2019, I went into SIA Burzacchi's office to explain, once

again, why my request to telework was not merely a matter of convenience but a matter of



                                                   5
        Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 7 of 45



necessity. I explained that I had initiated the reasonable accommodation process over a year

earlier, and as my medical situation has become more exacerbated in recent months, I required

additional accommodations. I told SIA Burzacchi that I had provided documentation and

information to SIA Martinez, who had actively participated in the accommodation process

locally, as the Headquarters-run Reasonable Accommodation had advised. SIA Burzacchi stated

that she been unable to locate any documentation in my "drop" file, but stated that it might be

located in my medical file, which she did not have access to. I asked her to pursue the matter, as

I felt that my needs were being questioned and marginalized. SIA Burzacchi then told me to

discuss the matter with SIA DeGroot.

       18.     I immediately sat down with SIA DeGroot after meeting with SIA Burzacchi,

who also explained that she did not know what the telework policy allowed. Once again, I

explained that this was a medical accommodation, for which I had followed the appropriate steps

that I had been advised. SIA DeGroot said that she thought A/ASAC would oppose my usage of

the telework laptop, as both he and newly-assigned SAC Sean Kaul, had indicated that they

wanted to create a new telework policy, but stated that I should follow up with SIA Burzacchi.

Both supervisors seemed determined not to respond to my request out of concern that A/ASAC

Braun might not approve of their decision.

        19.    Approximately five hours after I first requested approval to telework using the

laptop from home, which has been in my possession since the fall of 2018, I received an instant

message from the Information Technology supervisor asking me to please return the laptop for

another user to use during the exact period for which I had already requested to use the laptop. In

the nine or so months since l have used the telework laptop, I have never once been asked to

return it for another employee to use. I responded to the IT supervisor stating that I had a



                                                 6
        Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 8 of 45



pending request to use the laptop during the timeframe in question.

       20.     On July 9, 2019, I received e-mails from both SIAs Burzacchi and DeGroot,

summarizing a meeting they attended with the SAC Kaul and A/ASAC Braun. During this

meeting, the implementation of several policy changes was discussed, including that a new

telework policy was being developed, that all telework laptops were being recalled for audit, and

that anyone who had a continued need for a laptop should submit the request to A/ASAC Braun.

I was surprised by the claimed need to audit the laptops, since the laptops had been audited in

April 2019, and were usually only audited once per year.

       21.     On July 10, 2019, I emailed A/ASAC Braun and copied my supervisors,

requesting approval to continue with the telework laptop as part of my reasonable

accommodation. I explained that my laptop had recently been audited, and referenced my

engagement in the reasonable accommodation process, my medical and family needs, and

articulated the dependence I have on this accommodation to perform my duties with my

disabilities. I asked that I be allowed to use the laptop during the requested period, while a

formal policy was established. I also asked to have a laptop permanently re-issued to me

following the audit. See Ex. D.

        22.    On July 11 , 2019 , SIA Burzacchi told me that my request for continued

participation in the telework program and use of the telework laptop were denied by A/ ASAC

Braun. She did not reference the plan to develop a new telework policy, but instead cited

"operational priorities" within the division as the reason why I would no longer be provided

access to the telework laptop. Later that evening, A/ ASAC Braun sent an email reiterating

denial of my request. A/ASAC Braun claimed that Twas being required to return my telework

laptop so that it could be used for a "higher prioritized need," not pursuant to a new telework



                                                  7
        Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 9 of 45



policy or an audit that had been the original justifications for asking me to give up the telework

laptop. A/ASAC Braun also stated that "we have not been made aware of any documentation

supportive of your requests or your participation in the program." See Ex. D.

       23.       I returned the telework laptop to SIA Burzacchi on July 12, 2019.

       24.       Following the July 9, 2019 meeting referenced above, SIAs Burzacchi and

DeGroot also informed me that A/ASAC Braun and SAC Kaul were considering a policy change

limiting the hours that non-agent employees, including me, would be permitted to work. I am

one of the few employees in the Phoenix division who works outside of the newly-established

"core" hours .

        25.      On July 10, 2019, I sent an email to SIA Burzacchi with the formal "Alternative

Work Schedule" paperwork attached, to request continuing to work my 6 am to 2:45 pm work

schedule. I also asked that I be allowed to continue working the 6 a.m. to 2:45 work schedule

while the formal paperwork was being processed. I explained that this schedule best allowed me

to maintain my health in light of my disabilities and family needs (I am more functional earlier in

the day, and experience a worsening of symptoms later in the day; my children and I both have

ongoing medical appointments scheduled in the afternoons). SIA Burzacchi did not respond to

my email, but did verbally tell me on July 12, 2019 that my request to keep my schedule while I

awaited permanent approval was granted. As of this writing, I have not yet received the signed

formal paperwork authorizing me to work outside of "core" hours and am concerned that I may

ultimately be denied this essential accommodation.

        26.      On July 12, 2019, Tsubmitted a new request for reasonable accommodation

including both my alternative work schedule and telework. A copy is attached as Ex. E.

        27.      I also responded to A/ASAC Braun's email on July 12, 2019, outlining the many



                                                  8
       Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 10 of 45



inaccuracies, inconsistencies and lies in his e-mail to me. Despite his assertions that the

"administrative review process" had been "applied to the entire workforce of 520+ employees of

the Phoenix Division." Attached here as Ex. D. I explained that very few, if any other

employees, were impacted by this new "administrative review process," and that he had given no

consideration to my disabilities and ability to access my work. I also explained that despite his

assertions, I had followed the exact protocol that I had been instructed to follow, and that if a

different administrative channel was more appropriate to secure the accommodations, I should be

allowed time to pursue those accommodations without being stripped of my access in the

interim.

        28 .   On the afternoon of July 12, 2019, A/ASAC Braun sent out an e-mail announcing

that a temporary supervisor had been selected for SIA Martinez' s squad, as SIA Martinez was

out of the office indefinitely. SIA Martinez had recommended IA Megan Eckstein to serve as the

temporary supervisor, as she was by far the most qualified candidate and was interested in

becoming a full-time supervisor, unlike the individual selected. While Phoenix executive

management can use their discretion to select any candidate to serve in a temporary role, I

believe that IA Eckstein was deliberately excluded from the temporary assignment as retaliation

for her participation in providing a declaration in support of this lawsuit (wherein she attested to

retaliatory comments made by A/ASAC Brown against me). I also believe that SIA Martinez has

been driven out of the Phoenix Division based upon her refusal to be complicit in the ongoing

harassment and retaliation I have experienced at the hands of managers within the Phoenix

Division following my engagement in protected EEO and other whistleblower-protected

activities. I understand that STA Martinez has requested to use sick leave, but has been denied.

Notably, while any employee' s request for sick leave should be handled confidentially, I have



                                                  9
          Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 11 of 45



heard from one coworker in the last few days that people are saying that SIA Martinez has "gone

MIA." Another colleague told me that she was cornered in the bathroom by an agent who asked,

"has anyone found Mary yet?" When my colleague asked what this comment meant, the agent

snickered "well, she's missing isn ' t she? She' s gone missing. She 's lost it," or something to that

effect.

          29.   On July 15, 2019, I submitted my formal complaint ofretaliation and

discrimination in connection with the events described in this declaration. A copy is attached as

Ex. F. My efforts to obtain relief from the ongoing retaliation through internal requests and

complaints have not been successful.

          30.   To date I have been stripped of my telework accommodation; I have been told

that alternative work schedules such as mine are generally being eliminated, though I have been

permitted to remain on that schedule temporarily while my new request for approval of this

reasonable accommodation is considered; and I have been told that my position will be

"eradicated" and have been moved from squad to squad on temporary assignments with very

little IA work being assigned to me, so that I reasonably fear that the FBI will terminate me. I

am reviewed every quarter. However, for the past two months I have not been assigned work

that will permit me to show that I am meeting my expectations. And I have been given no

indication that these temporary duty assignments with little, if any, Intelligence Analyst work

assigned, will end soon, absent outside intervention. Further, because I am not in a regular work

assignment, with a permanent assignment to a squad, I do not get included in meetings or

communications; this is isolating. IfI am not permitted to continue on my alternative work

schedule, and am denied all opportunities to telework, then the loss of these reasonable

accommodations will force me out of the FBI, as I will not be able to work a full schedule



                                                   10
        Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 12 of 45



without the accommodations which were previously approved. If I am forced out of my position

with the FBI, it will not just be the loss of a job, but the loss of a career that I am dedicated to. I

fought through health challenges to return to the FBI because of my dedication to this work. It is

not the sort of work that I can just do for some other employer. I am not just being threatened

with the loss of a paycheck, but being deprived of the opportunity to put my hard-won skills to

use in the service of my country.



I declare under penalty of perjury that the foregoing is true and correct.




                                                                             1
Erika Wesley                                                    Datd




                                                   11
Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 13 of 45




           EXHIBIT A
Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 14 of 45
Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 15 of 45
Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 16 of 45




            EXHIBIT B
Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 17 of 45
Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 18 of 45
Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 19 of 45
Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 20 of 45




           EXHIBIT C
Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 21 of 45
Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 22 of 45




           EXHIBIT D
Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 23 of 45
Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 24 of 45
Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 25 of 45
Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 26 of 45
Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 27 of 45
Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 28 of 45




            EXHIBIT E
Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 29 of 45
Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 30 of 45
Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 31 of 45
Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 32 of 45
Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 33 of 45
Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 34 of 45




            EXHIBIT F
                     Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 35 of 45


u.s. Department of Justice                                                                             Complaint of Discrimination
                                                                                                           (see instructions on reverse)



PRIVACY ACT STATEMENT: 1. AUTHORITY-The authority to collect this information is                       The signed statement will serve as the record necessary to indicate an investigation will become
derived from 42 U.S.C. Section 2000e-16; 29 CFR Sections 1614.106 and 1614.108.                        part of the complaint file during the investigation; hearing, if any; adjudication; and appeal, if
2. PURPOSE AND USE-This information will be used to document the issues and allegations                one, to the Equal Employment Commission.
of a complaint of discrimination based on race, color, sex (including sexual harassment), religion,    3. EFFECTS OF NON-DISCLOSURE-Submission of this information is MANDATORY.
national origin, age, disability (physical or mental), sexual orientation or reprisal.                 Failure to furnish this information will result in the complaint being returned without action.
1. Complainant’s Full Name                 c.                                                                               2. Your Telephone Number (including area code)

Street Address, RD Number, or Post Office Box Number                                                                            Home         505- 511 - Dlbl
                     \k\ Mcvvvj zroyxe Vnne                                                                                     Work         (pQS -irOO ~
City, State and Zip Code

                   Ck, Kb.                  S3& 5
3. Which Department of Justice Office Do You Believe                                                  4. Current Work Address
Discriminated Against You?

A. Name of Office Which You Believe Discriminated Against You.
                                                                                                        ami N 'C
                                                                                                      A. Name of Agency Where You Work
                                                                                                                                                              PhogMyfd.
     irox\f\\f\^ D\N\$>1 Gf\ - LOCcded aV                                                                    rBl"
        GLvaNhGO                                AcademV                                                B. Street Address of Your Agency



B. Street Address of Office
                                                                                                           arm
                                                                                                      City, State and Zip Code
                                                                                                                                n-       ia gr-
               O                     Road                                                                                                            ^50^4
C. City, State and Zip Code                                                                            Title and Grade of Your Job

          Qwhco, y/i                                       aa                                         in fen \cj tr)£t                                                   Gvde 19-
5. Date on Which Most Recent                        6. Check Below Why You Believe You Were Discriminated Against?
Alleged Discrimination Took Place
                                                      □ Race or Color (Give Race or Color)                                                                      o Sexual Orientation
   Month           Day         Year                   □ Religion (Give Religion)
                                                      it^Sex (Give Sex) o Male       a^Female                                                                    ryfteprisal
                                                                 □ Sexual Harassment
   05             Oi            301&                  □ Age (Give Age)                                                                                          □ Parental Status
                                                      □ National Origin (Give National Origin)                                                         1
                                                      B'tfisability       BZPhysical    □ Mental                                                   Z             □ Class Complaint
                                                                                                                                                                 □ Genetic Information
7. Explain how you were discriminated against (Treated differentlyfrom other employees or applicants) Because of Your Race,
Color, Religion, Sex, Age, Handicap, Reprisal, or National Origin ( You may continue your answer on another sheet ofpaper ifyou need more space).

                        see aiXAdned. f io toVai paqed


8. What Corrective Action Do You Want Taken on Your Complaint?
       ?i£/0C£, see cxMchetf


9. A) I Have Discussed My Complaint With an Equal Employment Opportunity Counselor and/or other                                               B. Name of Counselor:
       EEO Official:
DATE OFtlRST CONTACT WITH DATE dF RECEIPtT OF NOTICE OF FINAL                                                                                  CateNaYMn
                                    INTEVIpW WITH|EEO COUNSELOR
EEO OFFlpE:                                                                                                                                     P&aU                                □ I Have Not
                                                                                                                                                                                   Contacted an
                 69/0^/15                                       05/(H/lQ)                                                                                                          EEO Counselor
10. Date oflThis Comtlaint:                             11. Sign Your (Complainant’s) Name Here:
  Month | Day       [Year

   05             o%           901%
                                                                                                                                                                                      FORM DOJ-201A
                                                                                                                                                                                           APR. 2011
        Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 36 of 45
U.S. Department of Justice                                      Complaint of Discrimination - Erika Wesley


Explain how you were discriminated against (Treated differently than other employees or applicants)
Because of your Race, Color. Religion. Sex, Age, Handicap. Reprisal or National Origin.

COMPLAINTS
   •   Between December 2017 - April 2018,1 experienced employment discrimination on the bases of
       disability and sex (gender) while employed by the Federal Bureau of Investigation.
   •   I faced reprisal/retaliation for requesting Reasonable Accommodations; bringing the
       discrimination and harassment I experienced to the attention of my superiors; and for speaking
       to management about egregious discrimination I witnessed against another student based upon
       her protected class.
   •   Finally, I believe that the recently implemented policy, "Basic Field Training Course: New Agent
       and Intelligence Analyst Graduation Requirements" document, a policy all new agents and
       analysts (including myself) first view are required to sign after arriving at the FBI Academy, is
       discriminatory in that it allows discrimination to run rampant and unchecked due to the
       manipulable wording and coercive nature of the document. To be more specific -the
       "Requirements" document serves as a backstop to enable persistent discrimination at the
       Academy: rather than enforcing the policies uniformly, the document is used to justify
       adversarial action taken against targeted students, specifically students of protected EEO
       classes. The culture at the Academy isn't one of training: it's a culture of trying to weed out the
       "undesirables" through bullying.

BACKGROUND
   •   On 12/11/17 the Assistant Director of the Human Resource Division of the FBI offered me a
       written letter of employment, inviting me to attend training for 3+ months at the FBI Academy
       located in Quantico, Virginia, to commence on 1/6/18. I was required to accept or decline the
       offer within 14 days, however, I did not receive this offer until 12/18/17, due to an error by the
       FBI's HR staff (the employment offer was sent to the incorrect e-mail address). In order to
       accept my offer letter, I needed to secure Reasonable Accommodations for my health
       issues/disability, however, I was only afforded a week to do so due to the e-mail delay. As
       discussed below, I accepted my letter and arrived at the FBI Academy in Quantico, Virginia to
       commence Basic Field Training Course (BFTC) on 1/6/18.
   •   I previously attended a basic analytical course at the Academy in 2005, similar in concept to the
       training I attended in 2018. After six years as a successful, highly-rated Intelligence Analyst, I left
       the FBI in 2010 to start a family, with plans to return to the FBI after I was finished having
       children. I entered the lengthy re-hire process in 2014, was given a conditional offer of
       employment in 2016, and finally attended BFTC in 2018. I include this background information
       because I know from personal experience that the Academy has not always been such a
       festering bed of discrimination, harassment and hostility, and I am genuinely shocked and
       appalled at what is being allowed to transpire at BFTC.
   •   My chain of command while at the Academy is referenced frequently in this complaint. For
       purposes of clarification, my chain of command consisted of (in order): 1) BFTC field counselor
       Intelligence Analyst (IA) Vanessa Bouey; 2) Supervisory Intelligence Analyst (SIA) Brian Moses;
       and 3) Unit Chief (UC) Kellie Holland.

DISABILITY DISCRIMINATION




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        Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 37 of 45
U.S. Department of Justice                                   Complaint of Discrimination - Erika Wesley


   •   I believe that I was discriminated against due to my disability before even arriving at the
       Academy, due to my Reasonable Accommodation request.
           o   After reading over the employment materials provided to me in my offer of
               employment, I contacted the individual outlined as the Reasonable Accommodations
               (RA) Coordinator, Management and Program Analyst (MAPA) Michelle L. Miller on
               12/19/17 to initiate the RA process for my anticipated 3 month residence at the
               Academy. Due to the FBI's e-mail error, I was left with only a week to make necessary
               arrangements for RA, which happened to fall right over the holiday season. MAPA
               Miller responded to my request on 12/20/17, stating that rather than provide the
               accommodations I requested, I could "wait and see how it goes when you get here." I
               felt this statement was discriminatory in and of itself, as minimized the significance of
               my health/disability concerns. I expressed my frustrations to MAPA Miller, only to learn
               that she was out of the office on holiday leave. With the clock ticking on the time I had
               to accept my offer, I grew increasingly concerned that I would be disqualified from
               employment, because I could not get my reasonable accommodation requests met in
               the short time the FBI provided me. On 12/22/17, with no word from MAPA Miller, I
               contacted the other FBI employees I had interacted with during the hiring process,
               including HR Specialist Erica Benson-Mainor and Supervisory Intelligence (SIA) Teresa
               Tamburrino. Ms. Mainor did not reply and SIATamburrino stated that she had nothing
               to do with the RA process, but forwarded my email to HR Supervisor Charles Pritchett,
               who never responded. I grew increasingly stressed that I was going to be disqualified
               from employment based on my RA request since my offer was set to expire on
               12/25/17, and I was unable to accept until my RA request was processed. On 12/27/17,
               two days after my offer letter expired, I was asked to provide medical documentation
               supporting my RA request, which I immediately provided. On 12/28/17, I was told that
               all my RA requests would be met and I would still be able to accept my offer letter,
               which I did that day. I noted in my official letter of acceptance that my acceptance was
               "contingent upon my reasonable accommodation request being met." (As a note: while
               I was approved to have certain RA items during my stay at the Academy, I was required
               to provide what I requested, with the exception of a mini-fridge discussed below. The
               RA items I requested would not have caused an undue hardship for the FBI to provide,
               and cost perhaps $100.)
           o   On 1/6/17, I arrived at the FBI Academy and commenced the orientation process. I
               immediately noticed that I was being treating with a level of impatience, rudeness and
               hostility that the other new employees were not subjected to. I wondered if this
               treatment had to do with my reasonable accommodation request, my delayed
               acceptance, or the fact that I arrived without having received the same information as
               the other new employees due to the e-mail snafu. This e-mail mistake was
               acknowledged, in writing, by the FBI employee who made the mistake, however, the
               Academy staff still treated me with noticeable hostility, which led me to believe that it
               was due to my RA request. The tenor at the FBI Academy is one that no one deserves
               "special" treatment - the fact that I was being allowed certain concessions based on
               medical need didn't seem to sit well with my superiors. Special Agent (SA) Daniel
               Zwiesler, a class counselor for my Basic Field Intelligence Course (BFTC), was especially
               unprofessional, stating that I wasn't starting my new job off on good footing and wasn't
               making a very good impression. I did not press him on what he meant by this comment,
               but immediately felt a sense hostility that became increasingly pervasive.


                                                                                                       2
        Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 38 of 45

U.S. Department of Justice                                    Complaint of Discrimination - Erika Wesley


   •   My health was knowingly and repeatedly compromised by Academy staff: despite repeatedly
       communicating that filthy living conditions were contributing to the demise of my health, no
       efforts were taken to address this; in fact, staff perpetuated the exposure by forcing me to
       work/reside in an environment that made me more sick.
           o   My dorm room was an incubator of illness: the furniture and floors were covered in
               sweater-thick layers of dust - to which I am highly allergic. I communicated several
               times - both in writing and in person - with IA Bouey, asking her how to handle the dust
               in my room. I cleaned all accessible surfaces myself, but couldn't access other areas due
               to furniture placement. After two weeks of the matter being unaddressed, I found a
               vacuum in a hallway closet on 1/15/18 and attempted to vacuum my room. The vacuum
               I located nearly started on fire when I attempted to vacuum, throwing off thick sparks
               and smoke, further worsening my allergies. I told IA Bouey about all of this - repeatedly
               asked for the cleaning staff to vacuum or to be provided a vacuum. Because I was
               asking for cleaning services outside the scope of their regular duties, this request had to
               be made through my chain of command, which was IA Bouey. IA Bouey claimed she
               made the request, but never followed up with me or the cleaning staff. Up until the day
               I left, the cleaning staff never addressed the dust issue. On 2/7/18,1 finally located a
               vacuum on another floor, but was advised that I could not move the furniture in my
               room to eliminate the dust, as it was a policy violation (as listed in the "Requirements"
               document). Several other students had moved their furniture for the simple reason that
               they wanted to re-configure the arrangements in their room, but they were not
               threatened with write-ups. I needed to move the furniture to be able to access the piles
               of dust, yet was threatened with a "write-up" if I moved the dorm room furniture to
               vacuum the excessive dust myself. I have photos of the piles of dust to put the matter
               in context. I repeatedly tried to mitigate the situation by taking action to protect myself,
               but faced threats of reprisal.
           o   When I arrived to my dorm room on 1/6/18,1 discovered that one of the reasonable
               accommodation items that was provided to me, a mini refrigerator in which to
               refrigerate medication, had fuzzy black mold all over the inside, which I am very allergic
               to (I have photos of this mold). Given that I had to demonstrate that the fridge was
               required for medical use, the FBI knew why I would be using it, yet no precautions had
               been taken to prepare or clean the refrigerator. I cleaned and bleached the refrigerator
               myself, however, upon telling IA Bouey about the matter later in the week, she
               discounted my concerns, saying that I shouldn't even have a fridge in my room at all,
               and commented that she was going to have it removed. I explained to her that I had
               permission to have it, she just said it had been left in my room by a previous tenant. Her
               hostility towards me for having "special" privileges (i.e. a fridge in my room) was intense
               from the very first day at the Academy.

   •   I was knowingly stripped of my reasonable accommodations which I had obtained through the
       prescribed procedure.
           o   On 2/7/18, my room was inspected without notice. Following the inspection, IA Bouey
               came into the classroom, and announced in front of my classmates that I had items in
               my room which violated FBI policy (NONE of the items in my room violated policy). She
               aggressively challenged me (and another student with a reasonable accommodation) on
               why I had items in my room that were part of my RA request. She demanded an answer
               and when I told her I felt that the information was protected by my privacy rights, and
               had been coordinated through RA, she grew very angry. She claimed I did NOT have an

                                                                                                         3
        Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 39 of 45
U.S. Department of Justice                                    Complaint of Discrimination - Erika Wesley


               approved RA request, grew furious, yelled, wagged her finger at me, and challenged
               both my honesty and integrity in front of my classmates. I am not able to adequately
               articulate just how horrible IA Bouey's behavior was, however, this incident was
               recorded on tape in the classroom. Witnessing this incident, in addition to my
               classmates, was instructor SIA John Evertsen, who replied in front of the whole
               classroom "hashtag awkward." I communicated IA Bouey's egregious behavior to SIA
               Moses, however, SIA Moses said he was unaware of any RA granted to me. (I had
               previously addressed IA Bouey's harassing/discriminatory behavior with SIA Moses, but
               she continued to target me).
           o   I was forced to remove the medical devices from my room the evening on 2/7/18. After
               a week of making no headway to get my RA items back within my chain of command (IA
               Bouey and SIA Moses), I finally contacted MARA Miller and asked her to intervene. In
               writing, she affirmed that I WAS authorized to have my medical RA items, and that IA
               Bouey had no authority to force the removal of said items. Only after I went out of my
               chain of command, directly to MARA Miller, did SIA Moses confirm that I had a valid RA
               request on file.
           o   Removal of these RA items did not go without consequence. I became increasingly ill
               and had to see an off-campus physician, who said the only remedy I had was to go on a
               high-dose of steroids, which caused side-effects that caused further suffering and health
               compromise.
           o   In March, when facing what I believe to be retaliatory disciplinary action from Unit Chief
               Kellie Holland (which is discussed in more detail below), UC Holland attempted to
               legitimize what IA Bouey did by stating that the items were removed after a recent
               inspection by the Marine Corps Fire Marshall. While the Fire Marshall did conduct an
               inspection at the FBI Academy the day prior to the removal of my items. The Fire
               Marshall never inspected my room or even my building. The Fire Marshall inspected
               another building on campus and was livid about the use of Keurig coffee makers in dorm
               rooms. Absolutely no review or determination was made by the Fire Marshall about the
               items in my room. Even if the Fire Marshall had inspected my room, ALL the devices in
               my room had been pre-approved by MARA Miller, as discussed above. Furthermore,
               MARA Miller stated that the Fire Marshall had no issue with any of my items.
           o   IA Bouey refused to allow me to ship my RA items to my new field office through intra­
               office mail, and did not allow me to ask SIA Moses permission to do so. I had to
               abandon the items, as the FBI does not pay for overage costs for checked airline bags.

   •   While extremely sick, I was denied permission to forgo a field trip and forced to work
       outdoors in bitter temperatures on 2/2/18.
           o   Despite seeing the campus nurse twice in the two previous weeks, and being put on two
               rounds of strong antibiotics to treat sinus/ear infections stemming from prolonged
               exposure to the unhealthy living conditions in my dorm room, I was denied the
               opportunity to visit the nurse to request limited duty verification, and forced to attend a
               field trip in Washington, DC, where I was exposed to sub-zero temperatures and brutal
               winds.
           o   During a previous field trip, another student was excused from attending because of a
               sore leg. I do not know any additional details about this student's injury, but I do know
               that concessions were made for her that we not made for me.

   •   I was harassed about having necessary medication readily accessible to me in the classroom.

                                                                                                         4
        Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 40 of 45
U.S. Department of Justice                                   Complaint of Discrimination - Erika Wesley


           o   On 1/16/18, SA Zwiesler prevented me from entering the classroom because I had my
               purse with me, citing that "shoulder bags" are not allowed in the classroom per the
               "Requirements" document. Given my allergy issues, I needed to keep several allergy
               meds and inhalers on hand and kept them in a small purse. I had already discussed this
               situation with SIA Moses, who was in my chain of command, and had been granted
               authority to bring the purse into class. SA Zwiesler is not in my chain of command and I
               did not feel it was necessary to disclose my personal medical information to him, and
               merely told him that I had permission to have the purse.
           o   When challenged about my interaction with SA Zwiesler, IA Bouey asked why I couldn't
               just put my medication in my locker, located outside the classroom and down the
               hallway. I explained that if I was having trouble breathing or having an allergic episode,
               it wasn't prudent for me to have to get up from the class, maneuver around the other
               students in my row, walk to the door, go down the hall, and struggle with a combination
               lock all while in medical distress. I also told her that SIA Moses had approved me having
               the purse with the medication in class. Nevertheless, I was called into a disciplinary
               meeting a few days later- which felt more like an interrogation - to discuss my
               "insubordination" and "bad attitude" with IA Bouey, and SIA Tyrone Jiles. When I
               explained the situation to SIA Jiles, he was understanding and did not write me a
               citation, however, I did have to disclose private medical information with IA Bouey and
               SIA that I had already disclosed and coordinated with SIA Moses. Once again, I feel that
               my right to privacy was violated and I was harassed for my disability.

   •   My private medical information was not only repeatedly publicly shared, which I believe
       violated HIPPA rules, but the information was used to ridicule me in front of my peers and
       instructors.
           o   Disclosing my reasonable accommodation items in front my classmates and instructor
               violated my privacy rights and was discriminatory, as discussed above. The disclosure
               and ensuing scolding were so hostile that I had to leave the room to go to the bathroom
               and cry. IA Bouey was vicious in her demeanor and absolutely targeted me and the
               other student with RA items to humiliate us.
           o   IA Bouey made comments about me always "being sick" in front of my classmates (such
               as "Damn! Are you sick AGAIN??). She said it in a repulsed, mocking tone, as if I was
               some sort of pariah.
           o   After going to the doctor off-campus, on a weekend, IA Bouey later berated me and told
               me I was not allowed to seek medical attention without being accompanied by a
               counselor. This is not a rule in the "requirements" document - but she insisted it was,
               and insisted I disclose my diagnosis to her. All I told her was that I would be able to
               return to duty after the weekend. When I wouldn't give her the information she
               demanded, she proceeded to ask several of my classmates the specific details of my
               visit, and suggested to them that I snuck off base without authorization, once again
               impugning my character.
           o   The medical information I sought to keep private was detailed and documented in an
               Electronic Communication (EC), and given to IA Bouey prior to Mediation of this matter.
               I was not informed that IA Bouey would be given this information, and once again, I felt
               violated because I wasn't okay with being subjected to disability discrimination.

SEX/GENDER



                                                                                                        5
        Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 41 of 45
U.S. Department of Justice                                   Complaint of Discrimination - Erika Wesley


   •   Discrimination against women is rampant and blatant at the Academy, from the peer level to
       the executive management level.
           o   Unit Chief Holland readily dispels or minimizes legitimate discrimination claims made by
               women, saying that as a woman, she has experienced much worse. Moreover, she
               threatens retaliation if you "talk back" or attempt to stand up for yourself when facing
               unsubstantiated disciplinary action based on gender. It is my experience that UC
               Holland is far more aggressive and demeaning of women than she is of men. It is also
               my experience that UC Holland knows that her subordinates are telling blatant and
               egregious lies in their disciplinary citations of women and does nothing about the lies,
               which empowers those subordinates to target and harass with impunity. I have
               personal knowledge of at least five disciplinary "citations" written against women in my
               class alone that were lacking candor, fabricated, or complete lies. When I attempted to
               bring this to UC Holland's attention, she said to me "Is it more important to be right or
               to be heard?" making it very clear to me that I needed to stop talking or face further
               retaliation.
           o   SA Dan Zwiesler targeted certain women and treated them with serious
               unprofessionalism and disdain, over-scrutinized their behavior, and targeted them for
               disciplinary action, which he was allowed to do under the authority of the
               "Requirements" document, despite not actually being a supervisor. I know of several
               other women in my class who experienced targeting by SA Zwiesler. SA Zwiesler treated
               me with such hostility and disdain that I brought it to the attention of my chain of
               command. He aggressively barked orders at me, treated me with gross condescension,
               harassed me about anything and everything he possibly could, even though he was not
               in my chain of command. If a male student had a question, SA Zwiesler was jovial and
               professional in his response. If I (or certain other targeted women) had a question, SA
               Zwiesler was intolerant, condescending and demeaning. I watched SA Zwiesler target a
               particular female student in our class and harass her to the point that I, as a bystander,
               addressed this discrimination with my chain of command. SA Zwiesler lied about this
               student's behavior, which resulted in disciplinary action being taken against her, and
               ultimately, her termination. More than just treating certain women poorly, SA Zwiesler
               seemed gleeful in doing so. At one point in class, SA Zwiesler made comments about
               women's hormones, needing to stay on their birth control pills, and made
               condescending remarks about women, in general, as he recounted his divorce.
           o   The targeting of females, particularly by males in leadership roles at the Academy, was
               not limited to SA Zwiesler. I witnessed firsthand and heard of instructors engaging in
               inappropriate and entrapping behavior with female students that led to those women
               being issued citations (some of which were taped, as they happened in the classroom
               setting). No matter what the women said/did, they would be issued citations. If they
               tried to be deferential, they were "lacking professionalism"; if they stood their ground,
               they were being "insubordinate."
           o   IA Bouey repeatedly made comments about my being a mother, and how that adversely
               affected my abilities in the workplace.
           o   I was repeatedly referred to as an "overly emotional woman" by IA Bouey and UC
               Holland. I was under such distress from the constant discrimination and targeting, that I
               cried a few times while at the Academy. Instead of taking this as a sign of their
               improper conduct, I was marginalized as being too emotional to do my job. (Incidentally,
               my professional performance was never - NOT ONCE - at issue. I excelled academically.
               Nor did I find the academics stressful - I thrive when being intellectually stimulated. It

                                                                                                        6
        Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 42 of 45
U.S. Department of Justice                                     Complaint of Discrimination - Erika Wesley


                was the unrelenting harassment that was stressful.) I have since learned that UC
                 Holland frequently leverages words like "emotional" or "overwhelmed" at females in
                order to undermine their suitability for employment with the FBI.
            o    IA Bouey also liked to make jokes about me being pregnant (which I was not) to my
                classmates: I made it very clear that I was NOT pregnant, but tried to let the jokes roll of
                 my back because I had already been called "too sensitive." Nevertheless, the pregnancy
                jokes escalated too far when IA Bouey said in front of the class that she was going to call
                my husband and tell him that I "got myself knocked up by someone else" during my
                training session.

REPRISAL/RETALIATION

To be explicitly clear: I believe that the more I spoke up about the improper actions of Academy staff,
the more I was targeted for harassment and dismissal. It was made clear to me on numerous
occasions that enduring the offensive conduct was a condition of my continued employment.
    •   I notified IA Bouey, the first in my chain of command, of SA Zwiesler's inappropriate behavior
        towards me. I also informed her that he seemed to have a noticeable problem treating women
        equally. She told me that she spoke to him: after she did so, I noticed that SA Zwiesler began
        acting as if I did not exist. He would not respond when I greeted him (which we were required
        to do), he would not make eye contact with me, would not interact with me in a professional
        setting whatsoever. Instead of treating me equally, he punished me for speaking out. His overt
        hostility towards me was noticed and commented on by other students. I also believe that the
        way he treated me made other students weary of being associated with me, leaving me feeling
        isolated. I felt so consistently and frequently targeted that I stopped doing things that could
        provide any exposure, including limiting my visits to the cafeteria - instead I hunkered down in
        my room.
    •   I discussed IA Bouey's targeting several times in writing and in person with SIA Moses, who said
        he spoke with her about it. Her behavior did not improve: instead, after SIA Moses spoke with
        IA Bouey, I started to feel targeted for disciplinary action. I had not received any write-ups or
        citations prior to bringing my disability and gender discrimination issues to the attention of
        management. But almost immediately after, I started getting citations and was threatened with
        citations and dismissal on a constant basis. For example, I was given a disciplinary citation for
        doing something that I had not only been told was ok to do, but that numerous other students
        did both before and after I was written up (I had my phone powered on, but on silent, in the
        classroom building on the weekend, while studying. My phone was NOT in the classroom. My
        phone was NOT in a SCIF. And it was not during work hours, which I had been told was when
        phones were restricted). Despite being told otherwise, and seeing many other students have
        their phones on, this no-phone rule was in the "requirements" document, so I took ownership
        for my actions. I acknowledged my mistake, but was then challenged to explain myself. When I
        provided an explanation, I was told I lacked accountability. Again - this speaks to the nature of
        the "requirements" document, the entrapment, and the hostility it creates. Once you have been
        targeted, all action taken against you (even if everyone else is doing it) is somehow ok, because
        the "requirements" document says it is. It also speaks to the unchecked authority of field
        counselors - they are not real supervisors, yet they are given the power to destroy lives and
        careers.
   •    After my previous interactions with IA Bouey, she told another student not to trust me, that I
        was trouble, and that I would stab the other student in the back the first change I got. I heard
        this conversation, as I was in the room of this other student, and the phone conversation was on

                                                                                                           7
        Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 43 of 45
U.S. Department of Justice                                    Complaint of Discrimination - Erika Wesley


       speaker. IA Bouey was consistently divisive and impeded my ability to develop professional
       relationships with classmates. She disparaged me, and played favorites with other students.
       She allowed others to break rules (for example, she gave a mini fridge to one of the students she
       liked, who did not have a medical note or need for it, while harassing me and another student
       for having mini fridges in our rooms, even though we both had medical need and permission to
       have them), while coming down on me for things that were not even real rules. I developed
       such a sense of anxiety every time she entered the classroom, because I knew that when she
       came to class, it was almost always to discipline, harass, or bully me. Again, other students
       noticed this, and when they saw her enter, all eyes would dart to me.
   •   After asking to speak with UC Holland about another female student, who I witnessed being
       targeted and harassed by IA Bouey, SA Zwiesler and other managers, UC Holland began
       targeting me for unwarranted disciplinary action. She said something to the effect of "I'm sure
       you thought that you were doing the right thing by speaking up for the other student. But that
       brought you to my radar. You weren't even on my radar before. But now you are. And there
       are consequences to speaking up." She proceeded to berate me for failing to take proper
       accountability for the citation I discussed earlier regarding the phone. She then told me that
       since I was "on her radar," she had asked the staff about me, about my performance and
       demeanor. To be clear - she singled me out and tried to elicit negative information about me
       because I stood up for myself and another student based on our protected classes. (This goes
       beyond a "motivating factor" in terms of disciplinary/retaliatory action). She did not disclose to
       me everyone she had spoken to, but she was fishing for negative information about me from
       Academy staff so that she could further retaliate, which she did (see the incident details below).
       UC Holland issued me a double citation claiming I had called her "unprofessional." Not only was
       this assertion based on gross misrepresentations provided to UC Holland by IA Bouey, it
       happened eight weeks earlier. If this behavior was so egregious, why did she wait eight weeks
       to discipline me? Why wasn't I disciplined by IA Bouey or SIA Moses, who were both there
       when the incident occurred? UC Holland only wrote me up because I had dared speak out
       against discrimination, and even said as much. But disciplining me for the incident wasn't
       enough. UC Holland berated and verbally abused me for a solid hour. She told me how overly
       emotional I was. She said that the "behavior" I demonstrated at the Academy made her never
       want to work with me, that my reputation was soiled. She made comments about my interest
       in being a Special Agent, and said it was a good thing I hadn't become one because I couldn't
       have hacked it. She ridiculed concern I had for my daughter who was in the hospital during my
       time in the Academy, saying that other students had relatives die, and that was much more
       severe than a sick child. She made it clear that I was on tenuous footing and could dismissed at
       any time. She was so incredibly unprofessional, hostile, cruel and retaliatory, that the rest of my
       time at the Academy was spent in complete and total terror - fearing that I would be dismissed
       for breathing too loudly.
            o (Incident details: IA Bouey told UC Holland that I had called UC Holland "unprofessional"
                and "demanded an explanation" when UC Holland abruptly removed our BFTC SSA eight
                weeks prior (who is a woman, which I do not believe is coincidence). UC Holland
                presented the dismissal to the class in what I viewed to be an unprofessional manner,
                and, offered both disparaging misleading information about the SSA's removal. We
                were then admonished from interacting or communicating with the SSA in any form,
                which I felt was, again, punitive and unprofessional. After UC Holland briefed us on the
                dismissal and left the room, SIA Moses and IA Bouey asked the analysts if we had any
                questions. The tenor was very somber, and we were all reeling, as we all liked the SSA
                very much. I asked if we were privy to know what happened, but was told we were not.

                                                                                                        8
        Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 44 of 45
U.S. Department of Justice                                    Complaint of Discrimination - Erika Wesley


                 That was the entire extent of my "demanding an explanation" - I asked a legitimate
                 question in the appropriate forum, when invited to do so. After class, numerous
                 students were saying things "That was so fucked up," or "Why would they treat the SSA
                 like that?" I didn't curse or disparage, but said to my peers that I thought the situation
                 wasn't handled very professionally. This incident was also video recorded.
   •   I was repeatedly threatened with citations, and impending dismissal, for minor "infractions."
       For example, during an extremely windy day, a gust of wind blew my parking pass off my
       dashboard when I opened my car door. I was unable to retrieve the parking pass. The wind was
       so severe that the entire base had been closed the previous day for dangerous wind conditions,
       yet I was threatened with a write-up for losing government property and lacking professional
       responsibility.
   •   I was consistently targeted and threatened with disciplinary action in the moments right before
       critical exams or performance tests. For example, minutes before a briefing performance test,
       IA Bouey pulled me aside, and told me that DC Holland wanted me her in her office at the end of
       the work day. As described above, going before UC Holland was never a good thing. This was
       an intimidation tactic that the Academy staff frequently utilized to be disruptive to targeted
       students. If they couldn't "get" us on bad behavior, maybe they could scare us so bad that we
       would perform poorly on exams and they could dismiss us for that. This happened to me three
       times - and happened to other women on at least four other occasions that I know of.
   •   I was constantly scrutinized, criticized and bullied for things that other students were not. For
       example, after getting too warm in my uniform fleece jacket, I took it off and tied it around my
       waist, while still wearing my uniform polo underneath. Lots of other students do that. Yet, I
       was told that I was wearing the uniform incorrectly and told I could be written up.

What Corrective Action Do You Want Taken On Your Complaint?

   •   I would like a thorough investigation conducted of the matters discussed herein in the hopes
       that future discrimination is avoided. It troubles me deeply that good people are being forced
       out of the Academy after being aggressively bullied over gender or disability.
   •   Because my time at the Academy is over and I am now relocated in the field, nothing about
       what I experienced can be corrected or undone. However, I do feel that the FBI should be held
       responsible for the knowing, willful and egregious actions of the staff at the FBI Academy in the
       form of both pecuniary and non-pecuniary compensatory damages.
           o Pecuniary Damages: Due to the reckless nature of FBI Academy staff, I was forced to
                incur personal costs. As such, I am seeking reimbursement for doctor's visit off campus;
                reimbursement for medications; reimbursement for personal time taken to visit doctor
                and pick up prescriptions. Approximate Total: $500 (may change when I obtain billing
                records from my insurance company: should pecuniary damages be awarded, the entire
                cost of visits and medications would need to be reimbursed, not just my co-pays. I do
                not have access to this information at the time of this filing.)
           o Non-Pecuniary Damages: Not only did FBI Academy staff know of my disability issues,
                and concerns about gender discrimination, they willfully used that information to target
                me for harassment, hostility, undue discipline and discrimination. As such, I believe the
                FBI is directly responsible for my loss of health; physical pain and suffering; emotional
                suffering; mental anguish; injury to my character and reputation; humiliation; indignity;
                apprehension; and isolation. The physical and emotional consequences of my distress
                were well noted by Academy nurses, family members, co-workers, and personal medical
                providers, and include: sleep issues; anxiety; physical pain; increased used of breathing

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        Case 1:19-cv-01581-JMC Document 15-3 Filed 08/02/19 Page 45 of 45
U.S. Department of Justice                                  Complaint of Discrimination - Erika Wesley


               medication; stress; frequent infections; and chewing my cheeks and tongue as a stress
               reaction. Due to the severe, intentional and punitive nature of my suffering, I am
               requesting $100,000. I also request 240 hours of annual leave be credited to my leave
               bank, so that I may take time to mentally, emotionally and physically recover from the
               unnecessary and unwarranted trauma I was forced to endure at the Academy.




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